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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 INESSA KLIMOVITSKY,                                                    Case No.: 1:21-cv-755 (MKB) (RER)

                                             Plaintiff,

                  -against-                                             STIPULATION OF
                                                                        PARTIAL VOLUNTARY
 JG INNOVATIVE INDUSTRIES, INC., JOSEPH                                 DISMISSAL WITH
 GOTTLIEB, ANAT GEULA, and DOV MEDINA,                                  PREJUDICE

                                              Defendants.
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         IT IS HEREBY STIPULATED AND AGREED by and between the parties through their

 respective counsel that the Plaintiff’s Fair Labor Standards Act and New York Labor Law claims,

 asserted in the First through Fourth causes of action set forth in Plaintiff’s Second Amended

 Complaint in the above-captioned action, are hereby voluntarily dismissed in their entirety, with

 prejudice, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Plaintiff’s

 remaining claims, asserted in the Fifth through Thirteenth causes of action set forth in Plaintiff’s

 Second Amended Complaint, are not being dismissed by this stipulation.


  For the Defendants:                                             For the Plaintiff:


  By: _____________________________
                                                                  By: ____________________________
     Nils C. Shillito
                                                                      Jonathan Shalom
     Stephen D. Hans & Associates, P.C.
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               July 7
      Dated: _________________, 2022                                  Dated: _________________,
                                                                              July 7,           2022

  SO ORDERED

  ______________________________
  United States Magistrate Judge
